Case 2:23-cv-01728-JMY Document 20 Filed 05/30/24 Page 1 of 22

ORDER APPEAL

I Valery Williams here by Appeal Order by Judge John
Milton Younge on the following,

L. Failure to state a Claim
a. Ms. Williams fails to state a Claim against the City
of Philadelphia for a violation of the Fourteenth
Amendment.

The Philadelphia Water Department is an agency of
the City of Philadelphia impiementing the City’s
official policies. PWD did violate my constitutional
rights per the 14" Amendment Due Process. The City
is Liable for all damages caused.

b. Ms. Williams failed to claim that her injury is the
result of a municipal policy

I presented the PWD regulations and policies on

‘ater Termination that states along with PUC, that
Notice must be provided to customer before
termination of water services.

c. Ms. Williams failed to plead that her alleged injury
is the result of a custom.

I presented my case on Law, not custom. Whether
PWD customarily terminates water services without
notice was unknown to me. This matter is all about me
and how PWD violated the Law.

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LL. Futility of Amendment

This is Ms. Williams 2" attempt to state a Claim, the
allegation that the City failed to follow its own notice
procedures in Ms. Williams’s case is simply insufficient to
state a federal cause of action.

a. I made a mistake on the regulation number on my
complaint and corrected it only on my amended
complaint. My Claim all the way through these Court
Procedures was and is Violation of the 14"
Amendment- DUK PROCESS. PWD shut my water
off without Notice. | expanded on Federal Law,
showing that PWD also violated State and Local Law
by terminating my water services, without DUE

PROCESS.

The City throughout these Court proceedings have not
responded to my charges or provided proof that they had
complied with the Law. [have charged that PWD
terminated my water services in violation of Federal, State
and Local Law, polices and regulations. [ have provided
documented proof showing the violations from the
beginning to the end. The reasons for the Shut-off range
from meter defective to not making an appointment with
PWD, all of which was provided to the Court.

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Conclusion

My Answer on my Amended Complaint was submitted
09/08/2023. On 05/01/2024 I sent a letter to Judge
Gene E.K. Pratter, inquiring about my case. On
05/22/2024 I received e-mail that my case had been
reassigned to Judge John M. Younge. On 05/24/2024 I
received e-mail that the Defendants motion to dismiss the
case was granted and my case was closed. This Order to
close my case is without merit. The City of Philadelphia’s
Water Department violated my Constitutional Right — Due
Process under the 14" amendment. The City presented no
proof or acknowledgement that they did not violate my
rights. While I provided PWD documentation and other
information, they indeed did violate my rights by not
providing me with notice before suspending my water
services. I request that my case be reopened, and a
Judgement made. Thank you for your time and
consideration.

Valery Williams

Ps, I have included information that is also in the Case
record.

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As Philadelphia Water transitions
to ‘smart meters,’ residents are
getting blindsided by huge bills
and shutoffs

‘by Lizzy McLellan Ravitch June 13, 2022
The upgrade is to install real-time tracking in water meters,
already used in many other locales. ( and Philadelphia) Plagued
with one hiccup after another, the program is about one-third complete
after three years in the works, per the Water Department.

As Philadelphia upgrades its water meters, some residents are facing
an unpleasant surprise: water bills in the thousands of dollars. A
few even saw their service shut off because they didn’t upgrade
quickly enough.

Eliminating the undercharging issue is one of the main goals of
the meter upgrade program, said PWD spokesperson Brian
Rademaekers, who stressed the importance of the upgrades.

“Shutoffs are always the last enforcement option used after all
other attempts to resolve issues are exhausted,” Rakemakers
said. If it does happen, he said 90% of the time service is restored
within 24 hours.

The tech being added is a transmitter that shares water usage
data with the department in real time. (the electronic meters instal!
from 2011-2013 already does this) It also comes with real-time leak
alerts. Similar “smart meter” technology was installed in New York
City over a decade ago.

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“An initiative like this is bound to run into hiccups,” said Howard
Neikrug, a former Philadelphia water commissioner who now runs The
Water Center at the University of Pennsylvania.

“Every time you make a change, if you’re doing it for half a million
homes, you're going to have blips,” Neikrug said. (the 2011-2013
project went smoothly) “Some of those blips are definitely the
utility’s fault, or issues, and some of it is the homeowners.” That
doesn’t ease the shock of an unexpected thousand-dollar water
charge. One resident of a South Philly rowhome told Billy Penn that
post-meter upgrade, they got a bill for more than $5k. The person,
who asked to remain anonymous while they actively dispute the
charges, said they were told it’s the customer’s responsibility to notice
if they’re being undercharged, (it is not the customers
responsibility it’s the PWD billing Dept.’s responsibility) then call
the water department and ask for it to be fixed. Rademaekers
confirmed the onus falls on the resident, even if you use autopay. “Any
customer who receives a bill stating that they have an estimated
reading must contact the Water Department to schedule a meter
repair or replacement,” the Water Department spokesperson said. In
March, however, some residents saw their water turned

off because they hadn’t responded to attempts to start the meter
upgrade. Several shut-off residents from West Philadelphia reached
out to Councilmember Curtis Jones, Jr. All three said they had been
contacted about upgrading their water meters but weren't able to
adjust their schedules to accommodate the appointment, Jones told
Billy Penn. (2011-2013 project changed meters with Notice and no
inconvenience to the customer) “They have a life,” he said. In other
cities that have made similar upgrades, policies on not granting water
meter access vary. On Long Island, for instance, New York American
Water imposes a $25 fee for residents who fail to provide access to
their meter after three attempts. Jones brought up the access issues
during PWD’s council budget hearing in late April. “There were cases
where people just couldn’t be home to let you guys’ in. There were
cases where they didn’t get notification that you wanted to get in.
There were cases when they were reluctant to let anyone into their
home during COVID and they didn’t know [postponing the upgrade]

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was available,” Jones said. “There are cases where people didn’t
know until the day of the shutoff that they were going to be
victimized in that way. “In testimony in response, Deputy Water
Commissioner Donna Schwartz acknowledged some people were
moved to the end of the list because they expressed COVID-19
concerns. “If you did no response whatsoever to any of the
mailings or any of our attempts to contact you, then yes, we did
shut off,” Schwartz said. ( If customer states that no Notice by
mail in his monthly bill or in a separate mailing came to the
residence, then shut-off must be discontinued and water
restored. Notice and compliance to follow per State and Local
regulations. Shut-off’s must follow NOTICE of an impending
Shut-Off and the right to Appeal. Some attempts at customer
response might have been missed, however, at no fault to
residents.(Then water services should be turned back on
immediately with proper mailed notice to follow for installation of
upgrade meter) The contractors doing the meter upgrade are also
handling meter upgrade-related customer service, per Rademaekers.
A software issue discovered last month was causing some calls to be
dropped when PWD operators transferred them over, he said. “We
addressed this issue and are currently working with the city to upgrade
to a completely new phone system for the meter shop,” Rademaekers
added. He also noted social media and email are monitored for
complaints. The department is aiming to finish within the next two
years, water operations administration manager Steve Junod said. If
you haven’t yet been contacted about your meter upgrade,
there’s currently no way to see when it will be your turn. The
department isn’t publishing the upgrade routes “for security reasons,”
according to Rademaekers, so residents only will know when
they’re due for the upgrade by monitoring their mail and bills. (a
simple letter to schedule an appointment mail to all clients will
suffice and those that do not comply steps should be taken to
get their compliance other than suspending there water
services).
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Meter Upgrade It’s time to
upgrade your water meter!

The Philadelphia Water Department is installing new
meter reading devices in every home in the city.

If you have received a letter in the mail pointing you to
this page, that means we're going to be working in your
neighborhood. You must schedule your installation
appointment within 30 days of receiving the letter.

This upgrade is required (not MANDATORY, Shut-offs are
mandatory according to regs and policy of local and state
governments and does not apply to upgrade requirements) and
there is no charge for installation.

The work will be done by our contractors, Contract Callers, Inc.
(CCI), and U.S. Facilities (USF). Another contractor, Black IPO,
will be performing quality assurance tests after some
installations. Contractors will have marked cars and photo
identification.
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Your health and safety are our priority. Our teams follow all
state and local requirements, including protective equipment,
sanitizing procedures, and social distancing.

You may delay installation due to COVID-19 health concerns by
calling the scheduling number and requesting a deferral.

Benefits for you:

- You'll be able to see your daily usage online, without
calling or waiting for a monthly bill.
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| have provided you with the only two notices | received
from PWD and the Federal, State and Local policies. The
notices are dated.

1. After shutting my water off a notice was stuck in my
door informing me that my water was suspended,
the reason and how to restore my water.

2.1 received a second notice by mail dated January
12% 2023,6days after my water was shut off. It was a
Notice of Non-compliance with Meter regulations.
it stated to avoid Service Suspension to make an
appointment in 30days. My water was already
suspended, had been since January 6"",2023. The
Notices also differ in their reasons for access to my
meter.

A.The Shut-off notice states that my meter is non-
accessible and non-functioning.

B. The Notice of Non-Compliance states that the
water meter or radio device attached to the
meter needs service(there was nothing attached
to the meter).

All of this correspondence and more is in my case file
proving that PWD Suspended my waiter service without
cause, which caused physical, mental and financial stress.

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ey

REASON or REASONS:
() Non-Paymenit of Bill

“T] Unauthorized Restoration ee Non-Com lian 3

re

You have not paid your bill, and Your service was.improperly. _ We have been unable 1 to access
did not respond to a prior notice. restored after a previous shutoff. the water meter, You must have a
- sae functioning and accessible meter.

AMOUNT DUE / CANTIDAD DEBIDA —

Tt pean re a
For. Non-Payment, or. Unauthorized Restoration: oe oe ~
> First, pay the amount due (See “Ways to ofay. "pelow).| Then, c call (2s) 685-6300 to veri

> Call (215) 685- 6300 to set upa payment agreement,

For Meter Non-Compliance: ee alos a.
® Schedule a meter appointment. Call the number marked: (a) (215) 685- 6300 OR (248). 685-3000

WAYS TO PAY: oe CHARGES:
@ The fastest way to restore service ~~ You must pay a restoration in charge. ae
is to pay online or in person. — Ifwe could not access your property’ $ curb stop to shut the
~  " water.off, orif you tamper with your meter, you will have to
{ dry) | Online: www.phila.gov/pay gi 3, Payadditional charges. — os
eCheck i is free! Fees apply for debit & credit payments a Restoration o Pesan . a
ay In person: oe Servica line 2" and smaller Cee e eee ne ee ees eeeaee teteaee $60
-.. Monday - Friday, 8:30am - 5: 00pm . ~ 7° Service line larger than 2" oo. scesecececeueeceeuecus $140_

' Center City faccants cash) RAR

Case.2:23-cv-01728-JMY Document.20—Filed.05/30/24.Page-44-0f 22.

vgs, PHILADELPHIA CITY OF PHILADELPHIA 1101 Market Street
; aa WATER DEPARTMENT OF REVENUE = —§" Floor
Go —oepaRTHENT— WATER REVENUE BUREAU Philadelphia, PA 19107
Questions:
www. phila.dov
OWNER/OCCUPANT . (215) 685-6300

.710 S SMEDLEY ST . Monday - Friday, Sam-Spm
PHILADELPHIA PA 19146

January 12, 2023 oe Co Water Access Code:. :
| googoso22.
‘Mater Service Appointment Reguired ee nt Number:
NOTICE OF NON-COMPLIANCE WITH METER REGULATIONS 013-73100-00710-001 - --
Dear Customer: Service Address: 06

“710S SMEDLEY ST
Philadelphia Water Department (PWD) service representatives have tried PHILADELPHIA PA 19146
to contact you previously and need to access the above property. PWD psa a ee
needs to service the water meter or radio device attached to the meter. Fe
Please call (215) 685-6300 to discuss your scheduling options,
including the option fo defer because of COVID-related health
acerns.

Under Philadelphia Water Department Regulations Section 401.3(e) property
owners, tenants, and other occupants must provide access to the properiy

for reading or replacing water meters or related components. Failure to. _
comply will result in sugpension of water service, In addition, if your” -
property Is in vioiation of City Code section 13-502 for failure to provide an
accessibie and operable shutoff vaive located at the curb, PWD may correct. _
this condition, suspend water service, and biil the property owner for the
plumbing costs. The average cost for this work is $885.00. . -

FIRE PROTECTION: Water shut off may affect your fire suppression system if the property is served by a a : .

ane pene

single/ combined domestic and fire service line. . A

occupied, please share this Information with the tenant.

Note: If this property is tenant-

-Appoiniment times are
eet available:
fonday ~ Saturday
“Bam, 5 p.m,

Ne ou
(215) 685-6300 and. choose.option #4, meter appointments, from the menu

i
When prompted, enter code 946477 to schedule yourappointrsent using-our =)
| automated scheduling system. Ue ee ee

Thank you,

_ Metering Unit oe
_hitadelphia Water Department

Fenaslatian nuniieble: Fenafiot } W357 Tdna Vier }Pyecumii {| mangol | ESA | Portugués | ltatiano (& 215.685.6300

}

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Federal Policy

According to the Fourteenth Amendment of the United
States Constitution, citizens afforded due process. As it
relates to utility services, utility companies must provide
consumers fair notice prior to termination. If notice was
not given, an individual was not afforded due process of
law.

When Water Can Be Shut Off Without Notice

Each state has its own utility disconnection policy that determines the process utility
companies must follow before shutting off utilities. Jin mamy states, water

companies are permitted to shut off your water without
notice in very limited situations, including situations where
you are:

Stealing water service

Getting water service through fraud
Tampering with your water meter

Using a bad check to avoid water shutoff

If your water has been shut off without notice and one of the
above situations does not apply, you should file a complaint
with your state's public service commission (also
sometimes called public utilities commission), which is the
governing body that regulates the rates and services of a
public utility.

Could not file a complaint with public service commission

Pennsylvania Public Utility Commission has no
jurisdiction over the Philadelphia Water Department,
cannot take Complaints.

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NOTICE PROCEDURES PRIOR TO TERMINATION

§ 56.91. General notice provisions and contents of termination notice.

a * = # *(b) A notice of termination must include, in conspicuous print,

clearly and fully the following information when applicable:
wk % ** * X*

(4) The date on or after which service will be terminated unless one of the following
occurs:

(i) Payment in full is received.
(ii) The grounds for termination are otherwise eliminated.
(iii) A payment [agreement] arrangement is established.

(iv) Enrollment is made in a customer assistance program or its equivalent, if the customer is
eligible for the program.

(v) A dispute is filed with the Public Utility or the Commission.

(vi) Payment in full of amounts past due on the most recent payment agreement
ARRANGEMENT is received.

s * * * (6) A statement that the customer should immediately contact the
public utility to attempt to resolve the matter. The statement must include the address and
telephone number where questions may be asked, how payment [agreements] arrangements may
be negotiated and entered into with the public utility, and where applications can be found and
submitted for enrollment into the public utility's universal service programs, if these programs
are offered by the public utility.

(7) The following statement: ''If you have questions or need more information, contact
us as soon as possible at (public utility phone number). After you talk to us, if you are not
satisfied, you may file a complaint with the Public Utility Commission. The Public Utility
Commission may delay the shut off if you file the complaint before the shut off date. To
contact them, call 1 (800) 692-7380 or write to the Pennsylvania Public Utility Commission,
P.O. Box 3265, Harrisburg, Pennsylvania 17105-3265."

State PUC Policy- Has no jurisdiction over PWD, cannot take
complaints against the PWD, but has jurisdiction over PGW,PECO and
phone companies
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Philadelphia Water Department Regulations
100.4 Shut off of Utility Service (regulation not applied)

(a) Nothing in this regulation shall modify the Department’s right to shut off
Utility Service without prior notice to prevent or alleviate an emergency which
presents a danger to life, health, safety or property.

(b) In addition to shut offs caused by revocations of acceptance of applications,
the WRB may cause the Water Department to shut off Utility Service at a Service
Location, after notice has been given and the opportunity for an informal
hearing provided, on the following grounds:

(2) when the Water Department or the WRB is denied for two consecutive billing
periods access to the Service Location to read or make changes or repairs to the
meter.

100.5 Notice of Shut off (regulation not applied to my case)

(a) Shut off Notice to Residential Customer A shut off notice in English and
Spanish will be mailed or delivered to a Customer.

(1) Account number; (2) Date of notice; (3) Address of property; (4) Amount past
due; (5) Date on or after which water service will be shut off.

(c) Shut off for Lack of Meter Access If a Service Location is subject to shut off due
to lack of a meter reading or lack of access to the meter, the Department will
send or deliver a notice to the Service Location by mail or hand delivery stating
that to avoid shut off of service and possible additional charges the Customer
must contact the Department and provide access to the meter by the
Department.

(g) requesting an informal hearing within ten (10) days if a dispute exists as to
any matter described in Section 100.7(a) of these regulations.

100.6 Shut-Off Notice Schedule (regulation not applied to my case)

(3) A notice for failure to provide access to the meter pursuant to Section 100.4
of these regulations will be mailed or hand delivered in accordance with Section
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100.5(c) of these regulations and at least thirty (30) days prior to the date of the
proposed shutoff of service

100.7 Administrative Hearings (regulation not applied to my case)

an Authorized User may request an informal hearing before a Revenue
Department hearing officer to contest a written decision or determination of
the Water Department or WRB with regard to the following:

(4) shut off for failure to provide access to the meter.

100.8 Rights Pending Final Decision (regulation not applied not to my case)

(a) Except as otherwise provided in this Section or elsewhere in these
regulations,

WRB and the Water Department will not shut off Utility Service to a Service
Location

100.11 Procedure at Shut Off (regulation not applied to my case)

(a) Provided that no action to avoid or delay a shut-off has been taken as provided
herein, a Department representative will visit the Residential Property on or after
the scheduled date to shut off service.

(d) If service is to be shut off for lack of a meter reading, shut off may be
avoided by permitting the Department representative to read the meter.

(e) When the water service is shut off, the Department representative shall
leave at the property a notice informing the residents of the shut off and what
steps can be taken to restore the water service.

el

See”

Y)

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100.12 Restoration of Service

(a) Service shall be restored within one (1) day, if possible, when the following
conditions are met:

(1) The Customer permits a meter reading or access to the meter for inspection,
changes or repairs.

reg 401.2 City Water Metering- states the meter is the property of the City. The
City is responsible for testing, maintaining, repairing and replacing the meter so
that it remains operational in accordance with accepted utility standards for
meter performance All meters new and previously used shall be tested before
installation or reinstallation. A customer may apply to the Department for a test
of the accuracy of a meter as provided for in Section 306.1 of these Regulations.

Reference to 100.12 (1)

Restoration of my water did not consist of a meter reading, inspection,
changes or repairs. Usage readings were being received by PWD and
no changes or repairs to the meter was required.

Reference to Reg 401.2

PWD neither repaired nor replaced my meter. My meter that was
installed in 2011 was operational without defect before my services
were terminated and after. After giving access to said meter, PWD
installed a battery on top of said meter. To this day | have not been
provided with a written explanation of the batteries’ function.

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VaLaAns/ nay
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Eastern District of Pennsylvania

Notice of Electronic Filing

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Case Name: WILLIAMS v. PHILADELPHIA WATER DEPARTMENT
Case Number: 2:23-cv-01728-JIMY
Filer:

Document Number: | 8

Docket Text:

MEMORANDUM ORDER THAT DEFENDANTS MOTION TO DISMISS THE
AMENDED COMPLAINT (DOC. NO. 13) IS GRANTED. PLAINTIFFS
AMENDED COMPLAINT IS DISMISSED WITH PREJUDICE. THE CLERK OF
COURT IS INSTRUCTED TO MARK THIS CASE CLOSED FOR ALL
PURPOSES, INCLUDING STATISTICS. SIGNED BY DISTRICT JUDGE JOHN
M. YOUNGE ON 5/24/24, 5/24/24 ENTERED AND COPIES E-MAILED.(amas)

2:23-cv-01728-JMY Notice has been electronically mailed to:
Melissa Medina melissa.medina@phila.gov
VALERY WILLIAMS VALERYA.MCGRIFF@YAHOO.COM

2:23-cv-01728-JMY Notice will not be electronically mailed to:
Case 2:23-cv-01728-JMY Document 20 Filed 05/30/24 Page 18 of 22

The following document(s) are associated with this transaction:

Document description:Main Document

Original filename:n/a

Electronic document Stamp:

[STAMP dceecfStamp_ID=1001600548 [Date=5/24/2024] [FileNumber=19661405-
0] [75f87e00558 1 def801 8fdc1628c5191059e886 18 108c95d2c5 16330e9cdi3a6456
32 192f7a7ba0d844ad 100353829 1d8905ac1 56b44f09540f346ci63f9355e8)]

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United States District Court

Eastern District of Pennsylvania

Notice of Electronic Filing

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05/22/2024

Case Name: WILLIAMS v. PHILADELPHIA WATER DEPARTMENT
Case Number: 2:23-cv-01728-IMY
Filer:

Document Number: | 6

Docket Text:

ORDER THAT THIS CASE IS REASSIGNED FROM DISTRICT JUDGE GENE
E.K. PRATTER TO DISTRICT JUDGE JOHN M. YOUNGE FOR ALL FURTHER
PROCEEDINGS. SIGNED BY GEORGE V WYLESOL, CLERK OF COURT ON
5/22/24. 5/22/24 ENTERED AND COPIES E-MAILED.(amas) (Main Document
16 replaced on 5/22/2024) (st).

2:23-cv-01728-JMY Notice has been electronically mailed to:
Melissa Medina melissa.medina@phila.gov

VALERY WILLIAMS VALERYA.MCGRIFF@YAHOO.COM
Case 2:23-cv-01728-JMY Document 20 Filed 05/30/24 Page 20 of 22

2:23-cv-01728-JMY Notice will not be electronically mailed to:
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Document description:Main Document

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0] [809293140b38 1 bcec2ce4d0cc84039364 407596046 1/660eb0727ddat3147c10ce1
b46ff6983 1 Oecd42df234ad4dd2cd056c445ae3 144 1 5bOb560729b976aee08F]]

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Activity in Case 2:23-cv-01728-JMY WILLIAMS v. PHILADELPHIA WATER
DEPARTMENT Order (Memorandum and/or Opinion)

Case 2:23-cv-01728-JMY Document 20 Filed 05/30/24 Page 21 of 22

Activity in Case 2:23-cv-01728-GEKP WILLIAMS v. PHILADELPHIA WATER
DEPARTMENT Letter

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United States District Court

Eastern District of Pennsylvania

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Case Name: WILLIAMS v. PHILADELPHIA WATER DEPARTMENT
Case Number: 2:23-cv-01728-GEKP
Filer: VALERY WILLIAMS

Document Number: |5

Docket Text:
Letter by VALERY WILLIAMS. Re: Judgment. (Attachments: # (1) COVER
SHEET)(dt)

2:23-cv-01728-GEKP Notice has been electronically mailed to:

Melissa Medina melissa.medina@phila.gov
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VALERY WILLIAMS VALERYA.MCGRIFF@YAHOO.COM

2:23-cv-01728-GEKP Notice will not be electronically malled to:
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] [500b479eb501796ae7 150883374ddeb7 bde30e3d50539f699e13303256e03841cd9
1891f8aa44d323cae8da1ad8ebd88f1 9b37cfdfOdef4327d01 f28fb9c2851]]
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[STAMP dcecfStamp_|D=1001600548 [Date=5/1/2024] [FileNumber=19611112-1

] [0121688747 15a0443b08c90f453f59c633e4ec4554a9f65534a23a4e69b608 108e9
f437acObbb54032dd917222a7b40b5f56b2c5d00a07 d906f7a7db8f9c5012)]

Activity in Case 2:23-cv-01728-JMY WILLIAMS v. PHILADELPHIA WATER
DEPARTMENT Order Reassigning Case

Val 1

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